         Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 1 of 8 PageID #:1




                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 KEISHA S. JACKSON,
                                                            CIVIL COMPLAINT
              Plaintiff,

 v.                                                      CASE NO. 1:21-cv-00515

 ARNOLD SCOTT HARRIS, P.C.,
                                                       DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes KEISHA S. JACKSON (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of ARNOLD SCOTT HARRIS,

P.C. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. and the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion of the events or omissions giving rise

to the claims occurred within the Northern District of Illinois.



                                                  1
         Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 2 of 8 PageID #:2




                                               PARTIES

    4. Plaintiff is a natural “person,” as defined by 47 U.S.C. §153(39), residing in Chicago,

Illinois, which lies within the Northern District of Illinois.

    5. Defendant is a debt collection agency operating out of Chicago, Illinois that provides its

debt collection services to clients in a variety of industries, including the medical field. Defendant

is a corporation organized under the laws of the state of Illinois with its principal place of business

located at 111 West Jackson Boulevard, Suite 600, Chicago, Illinois.

    6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    7.    Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assignees, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.


                              FACTS SUPPORTING CAUSES OF ACTION

    8. This instant action stems from Defendant’s attempts to collect upon a defaulted City of

Chicago Emergency Medical Services bill (“subject debt”) that Plaintiff purportedly owes.

    9. In approximately November 2020, Plaintiff began receiving calls to her cellular phone,

(847) XXX-2166, from Defendant.

    10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -2166. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

    11. Defendant primarily uses the phone numbers (312) 348-1562 and (312) 423-7510 when

placing calls to Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.

    12. Upon information and belief, the above referenced phone numbers are regularly utilized

by Defendant during its debt collection activities.

                                                   2
         Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 3 of 8 PageID #:3




    13. On answered calls from Defendant, Plaintiff experiences a noticeable pause, lasting

several seconds in length, before a live representative began to speak.

    14. Defendant also left pre-recorded voicemail messages when Plaintiff was unavailable to

answer the phone.

    15. Plaintiff, through her contacts with Defendant, was informed that Defendant was acting

as a debt collector attempting to collect upon the subject debt.

    16. The subject debt purportedly stems from an ambulance bill said to be owed by Plaintiff.

    17. During multiple telephone conversations with the Defendant, Plaintiff was advised that

the total amount owed on the subject debt was $1,084.00.

    18. Plaintiff informed Defendant that due to her unemployment status caused by the COVID-

19 pandemic and the financial strain it has caused her, she was financially unable to make a

payment on the subject debt and demanded that the Defendant cease contacting her cellular phone.

    19. Despite Plaintiff’s demands, Defendant continued placing phone calls to her cellular

phone.

    20. Plaintiff has received numerous phone calls and text messages from Defendant since

asking it to stop calling.

    21. In addition to the continued phone calls, Plaintiff received a collection letter from

Defendant dated November 30, 2020 depicting a total balance amount due of $2,380.00, which

confused Plaintiff as this balance is significantly higher than the amount she was told was due over

the phone by Defendant.

    22. Frustrated and confused over Defendant’s conduct, Plaintiff spoke with Sulaiman

regarding her rights, resulting in expenses.

    23. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.



                                                 3
       Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 4 of 8 PageID #:4




   24. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, violations of Plaintiff’s state and federally protected interests,

aggravation that accompanies excessive collection telephone calls, emotional distress, increased

risk of personal injury resulting from the distraction caused by the never-ending calls, increased

usage of her telephone services, loss of cellular phone capacity, diminished cellular phone

functionality, decreased battery life on her cellular phone, and diminished space for data storage

on her cellular phone.

            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.

   26. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   27. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   28. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.

   29. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

       a.      Violations of the FDCPA §1692c(a)(1) and §1692d

   30. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”



                                                 4
         Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 5 of 8 PageID #:5




   31. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiff after being

notified to stop. This behavior of systematically calling Plaintiff’s phone on a frequent basis in

spite of her demands was harassing and abusive. The persistent calls shows that Defendant

willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.

   32. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to Plaintiff.

         b. Violations of the FDCPA § 1692e

   33. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   34. In addition, this section enumerates specific violations, such as:

            “The false representation of . . . the character, amount, or legal status of any debt
            . . . .” 15 U.S.C. §1692e(2)(A).

            “The use of any false representation or deceptive means to collect or attempt to
            collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
            §1692e(10).

   35. Defendant violated §1692e, e(2)(A), and e(10) when it used deceptive means to collect

and/or attempt to collect the subject debt and when it misrepresented the total amount due on the

subject debt. Despite Plaintiff’s demand for Defendant to cease contacting her, Defendant

continued to place phone calls to Plaintiff in an attempt to force her to answer the calls and

ultimately make a payment. Through its conduct, Defendant misleadingly represented to Plaintiff

that it had the legal ability to contact her via an automated system when it no longer had consent

to do so. Furthermore, Defendant misleadingly and confusingly misrepresented the total amount

owed on the subject debt by giving Plaintiff a total amount due of $1,084.00 over the phone and a

total amount due of $2,380.00 in Defendant’s November 30, 2020 collection letter received just


                                                      5
       Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 6 of 8 PageID #:6




days after her phone calls with the Defendant. As such, Plaintiff was confused and misled as to the

true extent of her liability on the subject debt.

         c. Violations of FDCPA § 1692f

    36. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    37. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into

payment by placing multiple phone calls without her permission is unfair and unconscionable

behavior. These means employed by Defendant only served to worry and confuse Plaintiff.

    38. As pled in paragraphs 18 through 24, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

    WHEREFORE, Plaintiff, KEISHA S. JACKSON, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3);

    e. Enjoining Defendant from further contacting Plaintiff; and

    f. Awarding any other relief as this Honorable Court deems just and appropriate.

          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    39. Plaintiff repeats and realleges paragraphs 1 through 38 as though fully set forth herein.



                                                    6
      Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 7 of 8 PageID #:7




   40. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   41. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause lasting several seconds in length that Plaintiff

experiences during answered calls from Defendant is instructive that an ATDS is being utilized to

generate the phone calls. Additionally, the nature and frequency of Defendant’s contacts points to

the involvement of an ATDS.

   42. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular

phone using an ATDS and leaving prerecorded voicemail messages without her consent. Any

consent Plaintiff may have given to the original creditor, which Defendant will likely assert

transferred down, was explicitly revoked by Plaintiff’s demands to cease calling her cellular phone.

   43. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   44. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, KEISHA S. JACKSON, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

                                                 7
      Case: 1:21-cv-00515 Document #: 1 Filed: 01/29/21 Page 8 of 8 PageID #:8




   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: January 29, 2021                             Respectfully submitted,

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                                                8
